               Case 22-30362-hdh7 Doc 1 Filed 03/01/22                             Entered 03/01/22 14:58:18                   Page 1 of 12


Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                La Mesa Operations, LLC

2.   All other names debtor
     used in the last 8 years
                                  FKA ActivCare at La Mesa
     Include any assumed          FKA Elmcroft of La Mesa
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2807 Allen Street #834
                                  Dallas, TX 75204
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Dallas                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 22-30362-hdh7 Doc 1 Filed 03/01/22                             Entered 03/01/22 14:58:18                     Page 2 of 12
Debtor    La Mesa Operations, LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6233

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                        Chapter 9
     A debtor who is a “small           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                 Case 22-30362-hdh7 Doc 1 Filed 03/01/22                                  Entered 03/01/22 14:58:18                     Page 3 of 12
Debtor    La Mesa Operations, LLC                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,                            See attached list of Debtor and its affiliates
     attach a separate list                         Debtor      filing Chapter 7                                             Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                           50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                Case 22-30362-hdh7 Doc 1 Filed 03/01/22                  Entered 03/01/22 14:58:18                 Page 4 of 12
Debtor   La Mesa Operations, LLC                                                     Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                 Case 22-30362-hdh7 Doc 1 Filed 03/01/22                            Entered 03/01/22 14:58:18                    Page 5 of 12
Debtor    La Mesa Operations, LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 1, 2022
                                                  MM / DD / YYYY


                             X   /s/ W. Patrick Mulloy                                                    W. Patrick Mulloy
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ John E. Mitchell                                                      Date March 1, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 John E. Mitchell
                                 Printed name

                                 Katten Muchin Rosenman LLP
                                 Firm name

                                 2121 North Pearl Street, Suite 1100
                                 Dallas, TX 75201-2591
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     214-765-3600                  Email address      john.mitchell@katten.com

                                 00797095 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
      Case 22-30362-hdh7 Doc 1 Filed 03/01/22           Entered 03/01/22 14:58:18     Page 6 of 12

                           Bankruptcy Cases Being Filed by Affiliate of the Debtor


              DEBTOR                      RELATIONSHIP              DATE                  DISTRICT

Branch Water Holdings, Inc.               Affiliate               03/01/2022         Northern District
                                                                                     Texas

Elmcroft Senior Living, Inc.              Affiliate               03/01/2022         Northern District
                                                                                     Texas

Grossmont Gardens Operations, LLC         Affiliate               03/01/2022         Northern District
                                                                                     Texas

La Mesa Operations, LLC                   Affiliate               03/01/2022         Northern District
                                                                                     Texas

Las Villas De Carlsbad Operations,        Affiliate               03/01/2022         Northern District
LLC                                                                                  Texas

Las Villas Del Norte Operations, LLC      Affiliate               03/01/2022         Northern District
                                                                                     Texas

Mountview Operations, LLC                 Affiliate               03/01/2022         Northern District
                                                                                     Texas

Point Loma Operations, LLC                Affiliate               03/01/2022         Northern District
                                                                                     Texas

Rancho Vista Operations, LLC              Affiliate               03/01/2022         Northern District
                                                                                     Texas

Senior Care Operations Holdings II,       Affiliate               03/01/2022         Northern District
LLC                                                                                  Texas

Senior Care Operations Holdings,          Affiliate               03/01/2022         Northern District
LLC                                                                                  Texas

Bartlett Operations, LLC                  Affiliate               03/01/2022         Northern District
                                                                                     Texas




                                                                                                         1
      Case 22-30362-hdh7 Doc 1 Filed 03/01/22      Entered 03/01/22 14:58:18     Page 7 of 12

                      Bankruptcy Cases Being Filed by Affiliate of the Debtor


            DEBTOR                   RELATIONSHIP              DATE                  DISTRICT

BCC Sherwood Operations, LLC         Affiliate               03/01/2022         Northern District
                                                                                Texas

AL Bloomsburg Operations, LLC        Affiliate               03/01/2022         Northern District
                                                                                Texas

AL Lebanon Operations, LLC           Affiliate               03/01/2022         Northern District
                                                                                Texas

EC Lebanon Operations, LLC           Affiliate               03/01/2022         Northern District
                                                                                Texas

Mid Valley Operations, LLC           Affiliate               03/01/2022         Northern District
                                                                                Texas




                                                                                                    2
Case 22-30362-hdh7 Doc 1 Filed 03/01/22              Entered 03/01/22 14:58:18       Page 8 of 12




                    UNANIMOUS WRITTEN CONSENT OF THE
               BOARD OF MANAGERS OF LA MESA OPERATIONS, LLC

                                  AS OF FEBRUARY 28, 2022

       In accordance with the Limited Liability Company Act of the State of Delaware and the
Operating Agreement of La Mesa Operations, LLC, a Delaware limited liability company (the
"Company"), the undersigned, being all of the members of the Board of Managers of the
Company (the “Board of Managers”), hereby consent to and adopt the following resolutions and
take the following actions with the same force and effect as if such resolutions had been duly
adopted and such actions duly taken at a meeting of the Board of Managers duly called and
convened for such purpose, as of the day and year first above written:

        WHEREAS, the Board of Managers has considered the financial and operational condition
of the Company’s business; and

         WHEREAS, the Board of Managers has determined to their reasonable satisfaction that
the revenues and the value of the Company’s remaining assets are insufficient to satisfy the
liabilities and obligations of the Company; and

        WHEREAS, the Board of Managers believes it is in the best interests of the Company to
take the following actions as set forth in the following resolutions.

                                         RESOLUTIONS

        RESOLVED, that in the business judgment of the Board of Managers after consideration
of the alternatives presented to them and the recommendations of senior management of the
Company and the advice of the Company’s professionals and advisors that it is in the best interests
of the Company, its creditors, and other interested parties that a voluntary petition be filed by the
Company under the provisions of Chapter 7 of Title 11 of the United States Code (the “Bankruptcy
Code”); and

        RESOLVED FURTHER, that the Board of Managers be, and they hereby are, authorized,
empowered, and directed to employ the law firm of Katten Muchin Rosenman LLP as general
bankruptcy counsel to the Company to represent and assist the Company in filing under Chapter 7
of the Bankruptcy Code; and

       RESOLVED FURTHER, that Board of Managers is authorized, empowered, and directed
to take any and all further action and to execute, deliver, and file any and all such further
instruments or documents and to pay any and all such fees, costs and expenses (subject to
Bankruptcy Court approval), where necessary or appropriate in order to carry out fully the intent
and accomplish the purposes of the resolutions adopted herein; and

        FURTHER RESOLVED, that any and all actions taken by the Board of Managers prior
to the date hereof in connection with the liquidation of the Company or any matters related thereto,
or by virtue of these resolutions, are hereby in all respects ratified, confirmed, and approved.


                                                 1
Case 22-30362-hdh7 Doc 1 Filed 03/01/22              Entered 03/01/22 14:58:18      Page 9 of 12




      IN WITNESS HEREOF, the undersigned have executed this Unanimous Written
Consent as of the date first written above.

       BOARD OF MANAGERS:




                         WRITTEN CONSENT BY SOLE MEMBER

        The undersigned, being the sole member of the Company, joins in this Unanimous
Written Consent to (i) confirm the following individuals are the members of the Board of
Managers of the Company: W. Patrick Mulloy, II, J. Timothy Wesley, and Robin L. Barber,
and (ii) evidence its approval, adoption, and ratification of the resolutions of the Board of
Managers of the Company and the actions taken (or to be taken) by the Board of Managers
and/or the Company pursuant to and in accordance with such resolutions.

Sole Member:

SENIOR CARE OPERATIONS
HOLDINGS, LLC




       Chief Executive Officer




                                                 2
Case 22-30362-hdh7 Doc 1 Filed 03/01/22                     Entered 03/01/22 14:58:18           Page 10 of 12




John E. Mitchell, SBN: 00797095
Michaela C. Crocker, SBN: 24031985
Yelena Archiyan, SBN: 24119035
KATTEN MUCHIN ROSENMAN LLP
2121 N. Pearl St., Suite 1100
Dallas, TX 75201
Telephone: (214) 765-3600
Email: john.mitchell@katten.com
Email: michaela.crocker@katten.com
Email: yelena.archiyan@katten.com

Proposed Counsel for the Debtors


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

    In re:                                                   §     Chapter 7
                                                             §
    La Mesa Operations, LLC,1                                §     Case No. 22-_____
                                                             §
                     Debtor.                                 §

                               LIST OF EQUITY SECURITY HOLDERS

             Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, following is the

list of La Mesa Operations, LLC’s equity security holder:



                                                                                           Percentage of
                         Name                                    Address                      Equity

     Senior Care Operations Holdings, LLC            2807 Allen Street #834                     100%
                                                     Dallas, TX 75204



1
 The Debtors in these Chapter 7 Cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Branch Water Holdings, Inc. (8881), Elmcroft Senior Living, Inc. (8761); Grossmont Gardens
Operations, LLC (0538), La Mesa Operations, LLC (0495), Las Villas De Carlsbad Operations, LLC (0566), Las
Villas Del Norte Operations, LLC (0447), Mountview Operations, LLC (0581), Point Loma Operations, LLC (0515),
Rancho Vista Operations, LLC (0466), Senior Care Operations Holdings II, LLC (3519), Senior Care Operations
Holdings, LLC (7317), Bartlett Operations, LLC (5668), BCC Sherwood Operations, LLC (4645), AL Bloomsburg
Operations, LLC (6668), AL Lebanon Operations, LLC (6700), EC Lebanon Operations, LLC (9350); and Mid Valley
Operations, LLC, (4756). The address for all of the Debtors is 2807 Allen Street #834, Dallas, TX 75204.


                                                        1
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            Case 22-30362-hdh7 Doc 1 Filed 03/01/22                                        Entered 03/01/22 14:58:18            Page 11 of 12




 Fill in this information to identify the case:

 Debtor name         La Mesa Operations, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration     List of Equity Security Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 1, 2022                           X /s/ W. Patrick Mulloy
                                                                       Signature of individual signing on behalf of debtor

                                                                       W. Patrick Mulloy
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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             Case 22-30362-hdh7 Doc 1 Filed 03/01/22                              Entered 03/01/22 14:58:18                     Page 12 of 12
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Texas
 In re       La Mesa Operations, LLC                                                                           Case No.
                                                                                Debtor(s)                      Chapter      7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                  $                25,000.00
              Prior to the filing of this statement I have received                                        $                25,000.00
              Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:
                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  $25,000 in aggregate for all Debtors. Filing fees of $5,746.00 also paid.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 1, 2022                                                              /s/ John E. Mitchell
     Date                                                                       John E. Mitchell
                                                                                Signature of Attorney
                                                                                Katten Muchin Rosenman LLP
                                                                                2121 North Pearl Street, Suite 1100
                                                                                Dallas, TX 75201-2591
                                                                                214-765-3600 Fax: 214-765-3602
                                                                                john.mitchell@katten.com
                                                                                Name of law firm




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